Case 2:09-cr-00077-JES-SPC Document 352 Filed 07/23/10 Page 1 of 2 PageID 1301




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



UNITED STATES OF AMERICA

-vs-                                                             Case No.: 2:09-cr-77-FtM-99SPC

MANUEL TORRES
_______________________________________



                                              ORDER

       This matter comes before the Court on the Motion to Terminate All Restrictions and Legal

Impediments Imposed by the Court to Prevent Contact and Family Visitation Between Defendant,

Manuel Torres, and Defendant, Veronica Torres, (Doc. #347) filed on July 20, 2010. Defense

Counsel moves the Court for relief of a “no-contact” provision imposed as a condition of pretrial

release which indicates Defendant, Manuel Torres, and Defendant, Veronica Torres were to avoid

all contact, directly or indirectly, with each other. However, this restriction was imposed upon

Veronica Torres who was released on a $100,000 unsecured bond. The Defendant, Manuel Torres,

remains in custody. Counsel for Veronica Torres has not moved the Court for a modification to any

conditions of her release. Should there be a request to modify the conditions of release as it relates

to Veronica Torres, then her Counsel must move the Court on her behalf.

       Accordingly, it is now

       ORDERED:
Case 2:09-cr-00077-JES-SPC Document 352 Filed 07/23/10 Page 2 of 2 PageID 1302




       The Motion to Terminate All Restrictions and Legal Impediments Imposed by the Court to

Prevent Contact and Family Visitation Between Defendant, Manuel Torres, and Defendant, Veronica

Torres (Doc. #347) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this          23rd     day of July, 2010.




Copies: All Parties of Record




                                             -2-
